




NO. 07-09-0110-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL E



JUNE 2, 2009

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In the Interest of D.V., Jr., A.V. and A.V., Children

______________________________



FROM THE 99th DISTRICT COURT OF LUBBOCK COUNTY;



NO. 99-505,558; HON. WILLIAM C. SOWDER, PRESIDING

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ON ABATEMENT AND REMAND

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Before QUINN, C.J., and CAMPBELL, J., and BOYD, S.J.
(footnote: 1)
	Appellant Helen Vela appeals from the final judgment of the trial court. &nbsp;On May 7, 2009, the clerk’s record was filed. &nbsp;The reporter’s record was due on May 8, 2009. &nbsp;No extension motion or reporter’s record was filed. &nbsp;On May 13, 2009, this court directed the court reporter by letter “to advise the Court of the status of the reporter’s record on or before Tuesday, May 26, 2009." &nbsp;No response has been filed.

Accordingly, we abate this appeal and remand the cause to the 99th District Court of Lubbock County (trial court) for further proceedings. &nbsp;Upon remand, the trial court shall immediately cause notice of a hearing to be given and, thereafter, conduct a hearing to determine:



1. &nbsp;whether appellant desires to prosecute the appeal;



2. &nbsp;why the reporter’s record has not been filed in accordance with the Texas Rules of Appellate Procedure; and,



3.
 &nbsp;when the reporter’s record can reasonably be filed (given the length of trial and size of the record) in a manner that does not unduly delay the prosecution of this appeal.



The trial court shall cause the hearing to be transcribed. &nbsp;So too shall it 1) execute findings of fact and conclusions of law addressing the foregoing issues, 2) cause to be developed a supplemental clerk’s record containing its findings of fact and conclusions of law and all orders it may issue as a result of its hearing in this matter, and 3) cause to be developed a reporter’s record transcribing the evidence and arguments presented at the aforementioned hearing, if any. &nbsp;Additionally, the district court shall then file the supplemental clerk’s and reporter’s records transcribing the hearing with the clerk of this court on or before July 3, 2009. &nbsp;Should further time be needed by the trial court to perform these tasks, then same must be requested before July 3, 2009.

It is so ordered.

Per Curiam

FOOTNOTES
1:John T. Boyd, Chief Justice (Ret.), Seventh Court of Appeals, sitting by assignment
. &nbsp;Tex. Gov’t Code Ann. 
§75.002(a)(1) (Vernon 2008). 




